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                 EXHIBIT 4
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 1 BRIAN J. STRETCH (CABN 163973)
      Acting United States Attorney
 2
   DAVID R. CALLAWAY (CABN 121782)
 3 Chief, Criminal Pivision
 4 ROBERTS. LEACH (CABN .196191)
   ADAM A. REEVES (NYBN 2363877)
 5 Assistant United States Attorneys

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 7       Telephone: (415) 436-7534
         Fax: (415) 436-7234        •
 .8      Robert.Leach@usdoj.gpv
         Adam.Reeves@usdoj.gov
 9
      Attorneys for United States of Ain.eri.ca
10
11                                     UNITED STATES DISTRICT COURT
12                                   NORTHERN DISTRICT OF CALIFORNIA
13                                          SAN FRANCISCO DIVISION

14 IN RE GRAND JURY INVESTIGATION                        ) Case No. CR 14-90491 :MJSC EMC
   NO. 2012R02242,                                       )
15                                                       ) UNDERSEAL
                                                         )                                                                       t
                                                         ) DECLARATION OF AUSA ROBERTS.
16
17
                                                         )
                                                         )
                                                           LEACH IN SUPPORT OF THE
                                                           UNITED STATES' EX PARTE
                                                                                                                                 l
                                                         ) APPLICATION F.OR AN ORDER
                                                                                                                                 f-
18                                                       ) SUSPENDING THE STATUTE OF
                                                         ) LIIv.IlTATIONS PURSUANT to 18
19                                                       ) u.s.c. § 3292
                                                         )
20·   ____________ ___)
21           I, Robert S. Leach, state ·the following:
22·          1.      I am an Assistant United States Attorney for the Northern District of California I am one
23 of the prosecutors assigned to this case. I submit thls de.clara:tion in support of the United States' Ex
24 Parte Application for an Order Suspending the Statute of Limitations Pursuant to 18 U.S.C. § 3292,
is filed concunently.
26           2.      A grand jury in this district is conducting an investigation of former senior officers of
27 Autonomy Corporation plc-("Autonomy"), including fo1111er Chief Executive Officer Michael Lynch,
28 former Chief Fmancial Officer Sushovan Hussain, former Vice President of Finance Stephen
      LEACHDECL, RB EXPARTE.Af'PUC. RE STATUTE OF LIMITATIONS
      CASBNO, CR-14-90491MISC EMC



                                                                                                                 USAO 00003310
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   1 Cliamberl.ain., and former Chief Operating Officer fld General Counsel Andrew Kanter, for the
                                                .                                                      .
  2 following possible criminal offense.s: 15 U.S.C. §§ 78j(b) & 78-ff(securitie~ fraud), 18 U.S.C. § 371
  3 (conspiracy), 18 U.S.C., § 1341 (mail fraud), 18 U.S.C. § 1343 (wire frfilltl), 18 U.S.C. § 1348 (secu_rities
  4 fraud), and 18 U.S.C. § 1349 (attempt and conspiracy).
  5                                                 The Investigation
  6           3.    - the following infOlwation is to the best of my knowl~dge and belief an.4 is based on
  .7 infonnation provided to me by federal law enforcement officers, information obtained in connection
  8 with the investigation, and   my review of documents and testi1D-on.y relevant to this investigation,
  9 including the documents attached hereto.
 10           4.      Autonomy was a software developer with dual headquarters in the United Kingdom and
                                                                                                                         l
 11 San Francisco, California. Prior to October 2011, Auton01µy was .a publicly traded company whose
 12 shares were listed on the London Stock Exchange. _As a public company, Autonomy issued qumterly
 13 aud annual financial statements that were disseminated to the public by means of interstate and foreign
 14 wires. In or about October 2011, Hewlett-Packard Company ("HP"), headqua1tered in Palo Alto,                             I
 15 California, bought Autonomy for approximately $11 billion. Among other things, the grand jury is
 16 investigating whether e:,cecutives at Autonomy fraudulently inflated Autonomy's revenues in its                          I
                                                                                                                             f
 17 financial sta.tements and ·whether HP was defrauded by executives at Autonomy because HP relied on                       l
 18 the alleged accuracy of Autonomy's fir1ancial statements in deciding to bu)_' Autonomy.
 19           5.     In its statements to the public (two of which are attached below), Autonomy claimed that
                                                                                                                             lr
 20 its :financial statements were prepared. in accordance with Interµati.onal Financial Reporting Standards
 21 ("IFRS"). Attach.e~ to thls declaration as Exhibit A is a true and correct copy of International
                                                                 \
 22 Accounting Standard 18 Revenue. Under this standard, revenue from the sale of goods shall be
• 23 recognized when all of the following conditions have been satisfied.:
 24                  (a)      the entity has transferred to the buyer the significant risks and
                             ·rewards of ownership of the goods;
 25
                     (b)     the entity retains neither continuing managerial involvement to the
 26                          degree usually associated with ownership nor effective control
                             over the goods sold; .
27
                     (c)     the ~mount of1-evenue can be measured reliably;
28
      LEACH DECL. REExPARTE APPLIC. RE STATIITE OF LIMITATIONS
      CASENO. CR-14-90491MISCEMC                            2




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                                   f
  1                    (d)    it is probable that the economic benefits associated. with the
                              transaction will flow to the entity; a11d
  2
                      (e)     the·costs incurred or to be incurred in respect of the transaction can
  3                           be measured reliably.
 4             6.     Among other things, the grand jury is investigating whether executives at Autonomy
  5 fraudulently inflated Autonomy·•s alleged revenue by improperly tecording revenue on software sales in

 6 violation. of certain of the abovt>-quoted criteria in IFRS. More specifically. the grand. jury is
 7 investigating, among other possible schemes, whether executives at Autonomy used certai:n so-called
 8 "value added resellers" (''VARs'') to carry out a scheme to falsify Autonomy's financial statements by \
 9 pretending Autonomy had complied vvitl.1 IFRS when it really had not Evidence gathered by the grand

10 jury indicates that, from 2009 to 2011, Auto11omy often recorded revenue on alleged sales to certain
11 VARs y.r:ho _purportedly bought the software for resale to a specific customer or "end user.'' Evidence
12 gathered by the grand jury also indicates that Autonomy recognized revenues from sales to certain
13 VARs even tbough(l) Autonomy didnottransforthe·signifi.cantrisks and rewards of ow11ership of the
14 goods; (2) Autonomy did retain.contim:iing managerial involvement to the degree usually assotjate.d
15 with ownership or effective control over the goods sold; and (3) it was not probable that the economic
16. benefits associated with the transaction would flow to Autonomy.
17            7.      The grand jury investigation extends to multiple VAR transactions which Autonomy may
18 have used to imprnperly recognize revenue in this manner. At least four of those_VAR transactions
19 involve evidence located in foreign coun1ries. Thosefour transactions involved the following entities:



                                                                                                                              I
20 (1) Sales Consulting S.RL. ("Sales Consulting"); (2) Microtechnologies, LLC (''IvficmTech"); (3)
21 Auxilium Tech S.RL. ("Auxilium"); and (4) Red Ventures S.R.L. (''Red Ventures").
22            8.      Attached to this declaration as Exhibit B is a tru.e and correct copy ofBP-SEC-01406405
23 to HP-SEC-01406415, which I understand. was produced to the Securities and Exchange Commission
24 ("SEC") by HP in a parallel civil investigation, and which purports to be e-mail among Autonomy
        .                                               .                                                                     I
25 personnel titled ''Poste One off for Your records.'• The document includes an agreement dated
                                                                                                                              I
26 December 31 . 2009, in which Autonomy allegedly licensed software to Sales Consulting, a VAR in
27 . Rome, Italy, for €1,500,000 for resale to Paste Italiane ("Paste''). My research indicates Poste is in
28
      LEACH D ECL. RBEx PAR.TE APPLIC. RB STATUTE OF LIMITATlONS
      CASENo. CR-14-9049Th1ISCEMC                             3




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 1 Italy. The document also includes a separate letter date-d December 31, 2009, purportedly signed by
 2 Kanter.• •

 3          .9.      Attached to ihls declaration as Exhibit C is a true and correct copy ·o f HP-SEC-0142993 8-
. 4 951, which I understand was produced to the SEC by HP, and which purports to be a press r~lease titl.ed
 5 "Autonomy Corporation PLC Announces Results for the Twelve Months and Fourth Qua~r Ended
 6 December 31, 2009."
 7           10,    . Attached to this declaration as Exhibit Dis a·true and con-ect copy of HP-SEC-01550349,
 8 which I understand was produced to the governm(?nt by HP. I understand thls is an excerpt from an
 9 exhibit to a claim made by BP subsidiaries in a UK court. According to the document, Autonomy
10 recognized €1,500,000 of the revenue for the.sale to Sales Consultin~ in its Q4 2009 (Year End)
11 •financial statements. Although the government seeks further evidence in Italy to verify this, it-appears
12 that, in the end, neither Autonomy nor Sales Gonsulting ever ~-sold the software to Poste or any other
13 end~user; and Sales Consulting never made any payments to Autonomy 1111der the agreement.
14           11.     Attached. to this declaration as ExhibitE is a true and correct copy ofHP-SEC-01309275- _                   ~
                                                                                                                                 I
15 2 77, which I understand was produced to the SEC py HP, and which purports to be a fax from Sales
16 Consulting ad.vising Autonomy that Sales Consulting had been placed into liquidation.                                     I   ;

17         • 12.      Attached to this declaration as Exhibit Fis a 1rue and correct copy of HP-SEC-
18 00129022-23, \Vhich I understand wasproducecl to the SEC by HP, and which purports to be a memo                           f
19 from Hus~ai:6.. to Autonomy's board regarding a possible transaction with Bibliotheca Apostolica
                                                                                                                             f
                                                                                                                             I




20 Vatican.a ("BAV"), the Vatican Library, which is located in Vatican City State.
21           13.     Attached to tbis declaration as :Exhibit G is a 1rue and correct copy ofHP-SEC-01596101,
22 which I uncle:rstand was produced to the government by HP, and which purports to be an e-mail from an
23 Autonomy salesman to Hussam and others. The document suggests that in or around February 2010,
24 Autonomy contemplated partue:dng with Postecom, S.p~. ("Postecom"), a sub~idiary of Paste.located
25 in Rome, Italy, to act as a value added reseller which would ,resell Autono:i;ny' s archiving system to
26 BAV.
27
28
     LEACH DECL. RE EXPAR'lE APPLIC. RB STATUTE OP LlMrrATIONS
     CASENO. CR-14-90491MISCEMC                             4



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 1           14.     Attached to this declaration as Exhibit_H is a true and con-ect copy of HP-SEC-
 2 01596272-276, which I understai1d was produced to the government by HP, 'and which purports to be an
· 3 e-mail from an Autonomy salesman to Hussain and others. The document suggests that, in late March
 4 2010, Autonomy received a letter of intent between Postecom and BAV, which generally stated that
 5 Postecom had had preliminary discussiolls about possible involvement in the archiving project and
 6 intended to complete verification activities necessary to complete a collaboration proposal. The letter of
 7 intent further suggested that BAV was seeking financing ~or the project According to its tenns, the
 8 letter of intent was not binding on Posteco~ or BAY. The government's investigation to date
 9 demonstrates·that, by :March 31, 2010, when the Ql 2010 closed, Autonomy had no binding agreement
10 with BAV or Postecom.
11           15.     Attached to this declaration   as Exhibit I is a true and correct copy of:MICROTECH
12 082784-787, which was marked as Exhibit265 during grand jury testimony. The government's
13 . investigation to date, based on this document and other :i))formati.o~ reveals that,, on· April 1, 20 l 0, one
14 day after Ql 2010 had closed, Autonomy approached a representative ofMicroTech, au.other VAR.
15 based in Virginia, seeking MicroTech's .agreement to pay Autonomy $nmillion for software,
16 purportedly for resale to BAV.
17           16.     Attached to this declaration as Ex~tlbit J is a true and correct copy of Cronin0003277-280,
18 which was nial'ked as Exhibit 266 during gi;and juxy testimony. The document reflects that on April 1,.
19 2010, Steve Truitt (NiicroTech's COO) returned an $1,1 million purchase order dated March 31, 2010, to
20 John Cronin, who is believed to be a consultant ~o lvficroTech and Autonomy.
21           17.     Attached to this declaration as Exhibit K is a true and correct copy ofHP-SEC-015.50355,
22 which I understand was produced to the goverruhent by HP. I understand this is an excerpt from an
23 exhibit tQ a claim made by HP subsidiaries in a UK court. According to the document, Autonomy
24 recognized $11 million in revenue on the MicroTech deal. Based on the government' s investigation to
25 date, MicroTech appears to have had no relevant contact Vv'ith BAV and undertook no efforts to sell
26 Autonomy software to BAV. While it did make some payments to Autonomy on the $11 million order,
27 MicroTech did so vvith money from a roundtrip transaction with Autonomy, whereby Autonomy made
28
     LEACH DECL RE EX PARTE APPLIC. RE STATUTE OF LIMITATIONS
     CASENO. CR-14-9049ll\11ISCR.M:C                        5



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  1 purchases from MicroTech (and a related party) a11d then MicroTech made payments to Autonomy for
  2 the license to BAV. From April 2010 through 2011, Autonomy continued to attempt to consummate a
  3 sale, of software to BAV or an intermediary, but no deal was reached..
  4            18.    Attached to this declaration as Exhibit L is a true and correct copy of a printout from the
  5 Vatican Library's website, reflecting 1hat Monsignm Cesare Pasini is tl:te Prefect of the Vatican Library.
  6            19.    Attached to this declaration as Exhibits M, N, and O are true and correct copies of HP-
                               .                     .
  7 SEC-00094071-74, 0094086-88, and 00130127-28, which I understand were produced to the SEC by
  8 HP, and which reflect that in an<l after.December 2010, Lynch and Hussain personally met and
  9 corresponded with Monsignor Pasini about the possible digitization project. .
 10            20.     Attached to this declaration as Exhibit P is a true and correct copy ofHP-SEC-
 11 00520732, which I understand was pr<;>duced to the SEC by HP, and which appears to be an e-mail dated
• 12 April 11, 2010, in which Kanter was asked to prepare a draft license agreement between Autonomy and
 13 Auxilium.
 14            21.    Attached to this declaration as Exhibit Q is a true and correct copy ofHP-SEC-1596378-
 15 392, which I understand was produced to the government by HP, and which appears to be K.an.ter's
 16 response.
                                                                                          .                     .
 17            22.    Attached to this declaration as ExbibitR is.a true and correct copy ofHP-SEC-01656672-
 18 73, which ,was produced to the government.by HP, and which reflects .tbat Auxiliwn signed a product
 19 schedule, dated March 31, 2010, to pay €1,300,000 for the right to ~ublicense Autonomy software to .
 20 BAV"for a specified number of users and to pay €125,000 in._support and maintenance, and that
 21 Autonomy recognized €1,300,000 in revenue on the Auxilium transaction in Ql 2010. The
 22 government's investigation to date reveals that Auxilium made-no payments to Autonomy and Auxilium •
 23 does not appear to have made anr sale of Autonomy software to BAV.
           '   •
 24            23.   . Attac~ed toihis decl.ataiion as Exhibit Sis a true and con-ect copy ofHP-SEC-01639621-
 25 63 3, wnich I understand was produced to the gov:ernment by HP, and which appears to be Autonomy's
 26 press release for Q1 2010 stating that Autonomy exceeded earnings expectations of analysts following
 27 Autonomy stock.
28
      LEACH DECL. RB EXPARTE APPLIC. RE STATUTE OF LJMlTATIONS
      CASENO. CR-14-90491MISC EMC                           6




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                                   r
   1           24.     Attachep. to this declaration as Exlribit Tis ·a true and correct copy ofHP-SEC:-01550364,
  2 which. I understand was produced to the government by HP. I understand this is an excerpt from an
   3 exhibit to a claim made by HP subsidiaries in a UK court. According to the document, Autonomy
  4 recognized revenue on a license agreement, dated Septmnber 30, 2010, whereby Autonomy purported to
  5 license softw~e to Red Ventures for €2,000,000 for resale to Poste. Payment under the agreement was
  6 due begjnoiug December 2010. Red Ventures made no ·payments by th.at date, or at any point. Red
  7 Ventures does not appear to have made any sale of the listed software to Poste, nor did Autonomy ever
  8 consummate a sale of such software to ;E>oste. The government's investigation to date reveals that
  9 Autonomy' appears to have been attempting to sell software directly to Poste prior to September 30,
 10 2010, and after the purported sale to Red Ventures. Documents produced iri the investigation reflect
. 11 il:at Red Ventures was located in Italy.
 12                                              The Official Regues1B
 13            25.    Attached to this declaration as Exhibit U is a true and conect copy ofa Diplqmatic Note,
 14 which was sent atmy office's request on August 10, 2015, byth.e Embassy-of the UnitedS;tates of
 15 Ame1ica to the Holy See to the Secretariat of State for the Holy See and the Vatican City State. The
 16 Diplomatic Note attached a list of questions and documents the USAO and FBI wished to discuss.
 17            26.    Attached to tbis declarati.on as Exhibit V is a tJ.11e and correct copy of a Note Verbale
 18 dated October 8 2015, which was received from the Secretariat of State for the Holy See and the Vatican
 19 City State.
                           I                                                                             .        .
 20                   Attached to this declaration as Exhloit Wis a true and correct copy of Diplomatic Note,
                                                                                .                    .
 21 No. 3-2016. On January 14, 2016, atmy office's request, the Embassy of the United States of America
 22 to the Holy See delivered the Diplomatic Note to the Secretariat of State, ·enclosing a Request for
 23 International Judicial Assistance from the Office of International Affairs of the Department of Justice
 24 ("OIA"). The Secretariat ~f State has requested a translated version ofthe reque~t, which is being
 25 pi-epared, and bas yet to provide a substantive response.
 26           28.     On December 23, 2015, OIAroade an official request to the Central Authority of Italy for                        I
 27 legal assistance in pbtaining evidence, pursuant to the 2006 U.S.-Italy Mutual Legal Assistance
28
       LEACHDBCL. RE EXPARTE APPLIC. RE STATUTE OF L1MITATIONS
       CASBNO. CR-14•90491MlSCEMC                           7



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 1 Instrument. A true and co1rect copy of the letter transmitting the request, which at the time had ·not been
 2 translated in.to Italian, is attached as Exhibit X.
 3            29.     On January 4, 2016, OIA delivered a translated version of the request to the Central
 4 Autho1ity.ofltaly. •A true and correct copy of the letter transmitting the translated version of the request
 5 is attached as Exhibit Y. The request seeks business records, including agreements, correspondence, and
 6 e-mails, from Sales Consulting, Auxilium, Red Ventures, Postecom, and Post.e, which will evidence
 7 whether Autonomy appropriately recorded revenue on the transactions. Specifically, the request seeks:
 8                    • From Sales Consulting, for the period December 2009 to October
                        2011, all agreements witb.Poste and/or Autonomy; ail cotnmunications
 9                      with Autonomy relating to: any sale to Sales Consulting and/or any
                        r~sale of Autonomy software by Sales Consulting; all communications
10
                        with Poste relating to any sale of Autonomy software; all documents
11                      reflecting efforts by Sales Consulting to resell Autonomy software;
                        and financial statements for the periop.s ended December 31, 2009,
12                      2010, and 2011.                                             •
13                    • From Auxilium., for the period December 2009 to October 2011, all
14                      agreements with BAV (or any other unit/agency of the Vatican qty
                        State and/or Holy See) and/or Autonomy; all communications witb.
15                      Autonomy relating to any sale to Auxilium and/or any resale of
                        Autonomy software by Auxilium; all commmncations with BAV or
16                      Posteoom relating to any sale of Autonomy software; all documents
                        reflecting efforts by Auxilii.un to resell Autonomy software; an.4
17                      financial statements for tb.e periods ended December 31, 2009, 2010,
18                      and 2011.

19                    • From Postecom, for the period December 2009 to October 201 lj all
                        agreements with BAV relating to Autonomy; all agreements with
20                      Autonpmy; all ~omm.unications with Autonomy relating to any sale of
                        software to BAV; all communications with BAV relating to any sale
21                      of Autonomy software; and all documents reflecting efforts by
22                      Auxilimn and/or Postecom to resell Autonomy software.

23                    • From Red Ventures, for the period December 2009 to October 2011,
                        all agreements with Poste and/or Autonomy; all communications with
24                      Autonomy relating to any sale of software to Poste and/or any resele of
                        Autonomy software- by Red Ventures; all communications with Paste
25                      relating to any sale of Autonomy software; all documents reflecting
26                      efform by Red. Ventures to resell Autonomy software; and financial
                        statements for the periods ended December 31, 2009, 2010, and 2011.
27
28
     LEACHDEC.L. RB EXPARTE .APPL1C, RB S'f.ATD'rn OF LlMlTATIONS
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                                 t
 1                   •   From Poste, for the period December 2009 to October 2011, all
                         agreements with. Sales Consulting, Red Ventures, and/or Autonomy;
 2                       all commmrications with Autonomy relating to any sale of ce1tajn
                         software to Poste; and all communications with.Sales Consulting
 3                       and/or Red Ventures relating to any sale and/or resale of Autonomy
 4                       software.

 5 Italy has not yet responded to the MLAT.
 6           I declare under penalty of pe1jury that the foregoing is true and correct.
 7 Dated: January 29, 2016
 8
                                                           ROBERT S. LEACH
 9                                                         Assistant United States Attomey
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